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 7                       UNITED STATES DISTRICT COURT
 8                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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10   United States of America,               Case No. 2:18-cv-08420-RGK (PJW)
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                         Plaintiff,          [PROPOSED] ORDER GRANTING
12   vs.                                     BIENERT KATZMAN LITTRELL
13                                           WILLIMAS LLP’S MOTION TO
     $1,546,076.35 In Bank Funds Seized      WITHDRAW AS RETAINED
14   From Republic Bank of Arizona           COUNSEL ON BEHALF OF JAMES
15   Account ‘1889 et al.,                   LARKIN

16                     Defendants.
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19         The Court, having reviewed Bienert Katzman Littrell Williams LLP’s Motion
20   to Withdraw as Retained Counsel on Behalf of James Larkin (“Motion to
21   Withdraw”) and good cause appearing,
22         IT IS ORDERED that the Motion to Withdraw is granted.
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24   DATED this         day of              , 2023.
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                                               The Honorable R. Gary Klausner
27                                             United States District Court Judge
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